
Affirmed by unpublished per curiam opinion.
Unpublished opinions are not binding precedent in this circuit. See Local Rule 36(c).
PER CURIAM:
E. Lowell Mason appeals from the district court’s order dismissing as interlocutory his appeal from the bankruptcy court’s orders: (1) finding him in civil contempt and stating how he may purge that contempt; (2) denying his motion to disqualify the bankruptcy court judge and setting a hearing on other pending motions; and (3) denying his motion to dismiss an adversary proceeding against him. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. See Mason v. Sowell, Nos. CA-03-234-3, BK-02-33458, AP-03-3026 (W.D.N.C. filed July 18, 2003, entered July 23, 2003; filed Aug. 4, 2003, entered Aug. 6, 2003). We deny Mason’s motion for clarification of the lower courts’ jurisdiction and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED

